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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

HAPTIC, INC.,

                       Plaintiff,                    Miscellaneous Action No. 4:25-mc-331

       v.                                            (Haptic Case Pending in Northern District of
                                                     California, CA No. 3:24-cv-02296-JSC)
APPLE INC.
                           Defendant.



    APPLE INC.’S UNOPPOSED MOTION FOR LEAVE TO FILE SUR-REPLY IN
             OPPOSITION TO SILTSTONE’S MOTION TO QUASH

       Pursuant to Local Rule 6(f), Defendant Apple Inc. respectfully requests that this Court

grant leave for Apple to file a one-page sur-reply to respond to Non-Parties Siltstone Capital LLC,

Siltstone Capital Litigation Fund, LP, and LF Haptic, LLC’s (collectively, “Siltstone”) Reply In

Support Of its Opposed Motion To Quash Apple Inc.’s Subpoenas (Dkt. No. 7), filed on March

24, 2025. Good cause exists to permit Apple to file a sur-reply to clarify the record regarding the

status of the related discovery dispute between Apple and Haptic in the underlying case in the

Northern District of California, Haptic, Inc. v. Apple Inc., CA No. 3:24-cv-02296. Siltstone does

not oppose Apple filing a sur-reply.

       Courts have discretion to allow a responding party to file a sur-reply “when the movant

raises new legal theories or attempts to present new evidence at the reply state, and the responding

party seeks leave of court to file the sur-reply.” ICI Construction, Inc. v. Mufcor, Inc., 2023 WL

2392738, at *3 (S.D. Tex. March 7, 2023). This Court has granted such leave where the proposed

sur-reply was limited to addressing newly raised arguments that were not otherwise addressed in

a previous motion to brief. See, e.g., Jason R. Bailey, MD, P.A. v. Blue Cross & Blue Shield of

Texas, Inc., 504 F.Supp.3d 591, 593 n.1 (S.D. Tex. 2020) (Bennett, J.) (granting leave to file sur-


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reply where the “proposed sur-reply [was] limited to two claims Plaintiffs raised for the first time

in their Reply” that were not otherwise addressed in a previous brief); Mcgregor v. Lowe’s Cos.,

Inc., 2022 WL 19404022, at *1 n.1 (S.D. Tex. Sept. 17, 2022) (Bennett, J) (similar). The same is

true here and the Court should therefore allow a sur-reply.

       Here, Siltstone’s Reply discusses the status and history of Apple’s ongoing discovery

dispute with Haptic relating to litigation funding discovery. Siltstone’s characterization of the

parties’ dispute is incomplete and warrants a short sur-reply for Apple to accurately describe the

current state of the discovery dispute between Haptic and Apple. This additional context will aid

this Court in deciding Siltstone’s Motion to Quash and Apple’s Motion to Transfer.

       Accordingly, Apple respectfully requests leave to file a concise sur-reply specifically

addressing this issue. A copy of Apple’s proposed sur-reply is attached hereto as Exhibit A.




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Dated: March 31, 2025             FISH & RICHARDSON P.C.

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                            CERTIFICATE OF CONFERENCE

        The undersigned counsel conferred with counsel for Siltstone Capital LLC, Siltstone

Capital Litigation Fund, LP, and LF Haptic, LLC (collectively, “Siltstone”) regarding this motion

by email on March 31, 2025. Siltstone indicated that it does not oppose Apple’s motion for leave

to file a sur-reply.

Dated: March 31, 2025
                                                      /s/ Joshua H. Park
                                                      Joshua H. Park




                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was served on March 31,

2025, via the Court’s CM/ECF system on all counsel of record.

                                                      /s/ Joshua H. Park
                                                      Joshua H. Park




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